10.

Case 3:16-cv-02657-S Document 142 Filed 01/23/20 Pagelof3 PagelD 1403

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS
DALLAS DIVISION

ALTERNATIVE DISPUTE RESOLUTION SUMMARY

Style of case: Frazier et al., Rondellte vs. Dallas/Fort Worth International Airport Board
Civil action number: 3:16-CV-02657-S
Nature of the suit: employment
Method of ADR used: mediation
Date ADR session was held: January 22, 2020
Outcome of ADR (Select one):
O Parties did not use my services. O Settled, in part, as a result of ADR

Settled as a result of ADR. Ol Parties were unable to reach settlement
Subject to DFW Board Approval

What was your TOTAL fee: $3,710.00
Duration of ADR: four (4) hours (i.e., one day, two hours)
Please list persons in attendance (including party association, defendant, plaintiff).
Please provide the names, address and telephone number of counsel on the reverse of this
form.
Please see attached
Provider information:
Cecilia H. Morgan
8401 North Central Expressway Suite 610

Dallas, TX 75225
214-744-5267

“radish Hsu

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Signature ae Date

 
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Alternative Dispute Resolution Summary
Continued

Please provide the names, addresses and telephone numbers of counsel:

Chris Miltenberger Esq. Greg P. McAllister Esq.
L/O Chris R. Miltenberger, PLLC Littler Mendelson

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Southlake, TX 76092 Dallas, TX 75201

Tel: 817-416-5060 Tel: 214-880-8197

Rondellte Frazier, Plaintiff
Elaine F, Rodriguez with Defendant
Olie Malone with Defendant
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CERTIFICATE OF SERVICE

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fA
I hereby certify that on this os day of J CHU 4 , 2020, I electronically submitted
the foregoing document with the clerk of the court for the U.S. District Court, Northern District

of Texas.

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Judy Stepheifson, Case Manager
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